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FILED
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Tom Powers, Clerk
Clerk

MONTANA SECOND JUDICIAL DISTRICT COURT
BUTTE/SILVERBOW COUNTY

Kevin Washington an individual and
minority owner of CryptoWatt
Investment Partners, LLC the sole
member of Cryptowatt Mining, LLC.

Plaintiff,
v.

Matthew Brent Goettsche, an
individual and majority owner of
Crypto Watt Investment Partners,
LLC the sole member of Cryptowatt
Mining, LLC.

Defendant

 

KURT KRUEGER

Dept. judge, Dept. 1
Cause No-DV- \A-4S3

COMPLAINT

SUMMONS ISSUED

 

Parties and Venue

1. Kevin Washington is the minority owner of CryptoWatt Investment

Partners, LLC.

. 2, + Matthew B. Goettsche is the majority owner of Crypto Watt

Investment Partners, LLC.

3. | CryptoWatt Investment Partners, LLC, is a limited liability company

organized under the State of Delaware Limited Liability Company

Act, registered to do business in the State of Montana.
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4.

Crypto Watt Investment Partners, LLC is the sole member of
CryptoWatt Mining, LLC.
CryptoWatt Mining, LLC is a limited liability company organized
under the State of Delaware Limited Liability Company Act,
registered to do business in the State of Montana.
CryptoWatt Mining, LLC (hereinafter “Cryptowatt”) owns and
operates a “Bitcoin” mining facility at 200 Technology Way, Butte,
Montana.

Facts Common to All Claims
Article V, section 5.01 of the CryptoWatt Investment Partners, LLC
operating agreement conferred upon Matthew Brent Goettsche, as
Managing Member, “the full, exclusive and complete authority,
power and discretion to manage, operate and control the business,
affairs and properties of the Company, to make all decisions
regarding those matters, to perform any and all other acts or activities
customary or incident to the management of the Company’s business
and to do all things necessary or appropriate to carry on the business
and purposes of the Company...”
Bitcoin is a type of cryptocurrency. Bitcoin is generated through
computer software that solves an algorithm problem. Bitcoin can be
used for purchases or exchanged for other currency on currency

exchanges.
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9. “Mining” is the way new Bitcoin is produced and the way Bitcoin
transactions are verified.

10. From early 2018 through the present time, Kevin Washington invested
tens of millions of dollars in CryptoWatt Investment Partners, LLC to
build and operate CryptoWatt’s Bitcoin mining facility at Butte,
Montana.

First Claim for Relief: Breach of Fiduciary Duty

11. The allegations of all prior paragraphs are realleged and incorporated

in this First Claim for Relief as if fully set forth herein.

12. As the majority owner of CryptoWatt Investment Partners, LLC,
Matthew Brent Goettsche owed a fiduciary duty to Kevin Washington,
the minority owner of Crypto Watt Investment Partners, LLC.

13. On December 5, 2019, Matthew Brent Goettsche was indicted by a
federal grand jury in the United States District Court, District of New
Jersey, Criminal Number 19-877(CCC).'

14. The Indictment charges Matthew Brent Goettsche with Conspiracy to
Commit Wire Fraud and Conspiracy to Sell Unregistered Securities in
connection with a ponzi scheme utilizing the BitClub Network to
defraud investors in Bitcoin related investments of at least $722

million between April 2014 and December 2019.

 

! Copy of Indictment attached as Exhibit 1 and incorporated herein by reference
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15. The Indictment establishes probable cause, that is, it is more likely
than not that Matthew Brent Goettsche committed the crimes of
Conspiracy to Commit Wire Fraud and Conspiracy to Sell
Unregistered Securities as alleged in the Indictment.

16. Mathew Brent Goettsche never informed Kevin Washington that he
was using CyptoWatt’s Butte Bitcoin mining facility as part of or to
facilitate the crimes he was allegedly committing as alleged in the
Indictment.

17. Upon information and belief, Matthew Brent Goettsche was arrested
by federal authorities based on the crimes alleged in the Indictment
and remains in custody pending trial on these charges.

18. Being charged with the crimes alleged in the Indictment and arrested
by federal authorities makes it impossible for Matthew Brent
Goettsche to exercise the authority and carry out the duties and
responsibilities he exclusively possesses as the Managing Member of
CryptoWatt Investment Partners, LLC-specifically, pay the operating
costs and “do all things necessary and appropriate to carry on the
business and purposes of the Company...” 2

19. Through the conduct described in the Indictment resulting in his arrest

and detention pending trial, Matthew Brent Goettsche breached his

 

? The impact of conduct by Matthew Brent Goettsche in breach of his fiduciary duty to Kevin Washington described in
the affidavit of Richard B. Tabish attached as Exhibit 2 and incorporated herein by reference
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fiduciary duty to Kevin Washington, the minority owner of
CryptoWatt Investment Partners, LLC.
Matthew Brent Goettsche committed actual malice in the breach of his
fiduciary duty to Kevin Washington, the minority owner of
Crypto Watt Investment Partners, LLC.
As a result of Matthew Brent Goettsche’s breach of his fiduciary duty
to Kevin Washington, Kevin Washington’s investment in Cryptowatt’s
Bitcoin mining facility at Butte, Montana has lost substantial value in
an amount to be determined at trial.
As a result of Matthew Brent Goettsche’s breach of his fiduciary duty
to Kevin Washington, Kevin Washington has been damaged by the
loss of Bitcoin not produced at Cryptowatt’s Butte facility in an
amount to be determined at trial.
As aresult of Matthew Brent Goettsche’s breach of his fiduciary duty
to Kevin Washington, Kevin Washington is entitled to punitive
damages in an amount to be determined at trial.

Second Claim for relief: Actual and Constructive Fraud
The allegations of all prior paragraphs are realleged and incorporated
in this Second Claim for Relief as if fully set forth herein.
Beginning in approximately July 2018 and throughout the time period
Crypto Watt has been mining Bitcoin at its Butte facility, Matthew

Brent Goettsche has exercised exclusive control of the Bitcoin mined

 
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at CryptoWatt’s Butte facility.

Matthew Brent Goettsche’s exclusive control of the Bitcoin mined at
Cryptowatt’s Butte facility included requiring that the Bitcoin be
mined to the very BitClub Pool or BitClub Network that is described in
the Indictment presently pending against Matthew Brent Goettsche and
attached to this Complaint.

By mining the Bitcoin mined at CryptoWatt’s Butte facility to the
BitClub Pool described in the Indictment attached and exercising
exclusive control over the Bitcoin, Matthew Brent Goettsche was able
to obfuscate and hide the true number of Bitcoin mined, and
consequently, fraudulently convert Bitcoin from Kevin Washington.
Matthew Brent Goettsche fraudulently converted Bitcoin rightfully due
to Kevin Washington in several ways, including but not limited to:
falsely under representing the true number of Bitcoin actually mined
by the Cryptowatt facility in Butte and assigning fewer Bitcoin to
Kevin Washington than he was entitled; using Bitcoin mined at the
CryptoWatt facility in Butte as his personal piggybank to make
outside investments amounting to millions of dollars without Kevin
Washington’s knowledge thereby depriving Kevin Washington of his
ownership interest in those Bitcoin; and converting Bitcoin mined at
Cryptowatt’s Butte facility to U.S. Dollars and depositing the money

into bank accounts that upon information and belief have been seized

 
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by the Unites States government pending forfeiture as described in the
Indictment attached, thereby depriving Kevin Washington of his
ownership interest in those funds.
As aresult of Matthew Brent Goettsche’s actual and constructive
fraud, Kevin Washington has suffered damages in an amount to be
determined at trial, but not less than $10 million.
As aresult of Matthew Brent Goettsche’s actual and constructive
fraud, Kevin Washington is entitled to punitive damages in an amount
to be determined at trial.

Prayer for Relief
WHEREFORE, Kevin Washington prays for damages, relief and
judgment against Matthew Brent Goettsche as follows:
For expectancy damages.
For restitution damages.
For general damages in an amount to be determined at trial.
For special damages in an amount to be determined at trial.
For punitive damages in an amount to be determined at trial.

For attorney’s fees and costs of prosecuting this lawsuit.

 
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DATED this 23rd day of December, 2019.

KRIS A. MCLEAN LAW FIRM, PLLC

Kris A. McLean
Attorney for Plaintiff
